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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

JOEL PRICE,

        Plaintiff,

v.                                                                 Case No: 8:19-cv-917-T-36SPF

CITY OF LARGO, FLORIDA,

      Defendant.
___________________________________/

                                            ORDER

        This matter comes before the Court sua sponte. Pursuant to 28 U.S.C. § 455(a), the

undersigned finds that she must recuse herself from this matter, so as to avoid even the appearance

of partiality or impropriety. Lead counsel for Plaintiff is the undersigned’s cousin.

        Accordingly, it is therefore ORDERED that the undersigned hereby disqualifies herself

from these proceedings, pursuant to 28 U.S.C. § 455(a). The Clerk shall reassign this case to the

next available District Judge.

        DONE AND ORDERED in Tampa, Florida on August 2, 2019.




Copies to:
United States Magistrate Judge
Counsel of Record
Unrepresented parties
Intake
MAGCD
DCCD
